Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 1 of 48 PageID #: 16796




                           Exhibit 1
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 2 of 48 PageID #: 16797




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT CHARLESTON

IN RE ETHICON, INC., PELVIC REPAIR
SYSTEM PRODUCTS LIABILITY
LITIGATION                                            Master File No. 2:12-MD-02327
                                                                MDL 2327

THIS DOCUMENT RELATES TO ALL
CASES                                                     JOSEPH R. GOODWIN
                                                          U.S. DISTRICT JUDGE




       Collective audio files, Exhibit 1 to “Johnson & Johnson’s and Ethicon’s Motion to Revise

Case Management Procedures and for Discovery Related to Plaintiffs Solicitation.”
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                        Affidavit A
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 4 of 48 PageID #: 16799




                        AFFIDAVIT OF KARI SUTHERLAND, ESQ.




 STATE OF MISSISSIPPI
 COUNTY OF LAFAYETTTE

        KARI SUTHERLAND, first being duly sworn, deposes and states that she is over the age
 of 18 years and is a resident of the State of Mississippi and testifies as follows of her own
 personal knowledge:

    1. I am one of the lawyers for Johnson & Johnson and Ethicon, Inc. in the pelvic mesh
       litigation.

    2. In early June 20141 received information that a woman named               had left a
       message with Johnson & Johnson complaining about phone calls that she had been
       receiving concerning pelvic mesh. According to the information conveyed to J&J by Ms.
              she never had been implanted with any kind of mesh and thought it was "wrong"
       that she was receiving these types of phone calls.

    3. I called Ms.        on Monday, June 9,2014, and left her a voicemail.

    4. On Tuesday, June 9,1 p s oke with Ms.      and learned several pieces of information, set
       out below. I also emailed her to provide my contact information and a link to my bio.
       (Attachment 1, email dated June 10,2014 at 1:47pm).

           a.   Ms.       is 30 years old and is a nurse.
           b.   She never has had mesh implanted.
           c.   She resides in          Indiana (Hamilton County).
           d.   Her email address is            gmail.com.
           e.   She received about 25 phone calls in the month previous to our conversation.
           f.   The callers claimed to be from the "U.S. Medical Department"
           g.   She advised the callers that she never had undergone amesh implant surgery.
           h.   The callers told her she would have to lie in order to get $30,000 - $40,000.
           i.   She recorded one of the conversations.
           j.   Somehow, the callers knew that she had taken Yaz.

    5. I asked Ms.         to send me the recording that she had made. I also asked her to
       maintain the original recording. (Attachment 2, email dated June 10, 2014 at 2:06pm).




                                           Page 1 f o2
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    6. Ms.      responded to me via email and agreed that she would save the recording.
       (Attachment 3, email dated June 10, 2014 at 2:23pm).

    7. That same day, Ms.        provided me with the recording that she had made of one of the
       calls to her concerning pelvic mesh. (Attachment 4, audio file). At my request, she also
       subsequently provided the recording to one of my law film's IT specialists.

    8. I subsequently had a transcript made of the recording.            (Attachment 5, certified
       transcript).

    9. Although Ms.         had agreed to execute an affidavit, and had provided additional
       information to include in the affidavit, I have not been able to contact her again as of late
       June 2014. In one of our last email communications, she indicated that she had an earlier
       recording from April 2014 that was consistent with the attached recording. (Attachment
       6, email dated June 16,2014 at 5:04pm).


 Executed this         day of                 2015.


                                                                         v
                                                             KARI SUTHERLAND


 STATE OF MISSISSIPPI
 COUNTY OF LAFAYETTE

       Sworn to nd subsc )ed before me, a N
                                          otary Public in and for the aforesaid State and
 County, this    day of     lUidJuA       ,2015.



                                                             NOTARY PUBLIC
 MY COMMI




            •%co^




                                           Page 2 of 2
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                      ATTACHMENT 1
        Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 7 of 48 PageID #: 16802




From:                                    Kari Sutherland <Kari.Sutherland@butlersnow.com>
Sent:                                    Tuesday, June 10, 2014 1:47 PM
To:                                      '         gmail.com'
Subject:                                 pelvic mesh litigation [IWOV-ButlerSnow.FID4511479]



Hi
Thanks again so much for speaking with me this afternoon and working with us on hat
                                                                                 t recording.
I really appreciate your help and will definitely be back in touch with you shortly.
My office nformation
            i          is below.
My cell phone is               .
And h ere is a link to y bio
                          m ifyou want to ee
                                           s who you're dealing
with: http://www.butlersnow.com/kari sutheriand.aspx
THANKS,
Kari

Kari L. Sutherland
Butler Snow LLP
Direct: (662) 513-8002
Fax: (662) 513-8001
Kari.Sutheriand@butlersnow.com


 Butler
  •X;

                            Suite 205
P.O. Box 1138               1200 Jefferson Ave.
Oxford, MS 38655-1138       Oxford, MS 38655




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                                                                 1
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                      ATTACHMENT 2
       Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 9 of 48 PageID #: 16804




From:                                    Kari Sutherland <Kari.Sutherland@butlersnow.com>
Sent:                                    Tuesday, June 10, 2014 2:06 PM
To;                                      '          gmafl.com'
Subject:                                 RE: pelvic mesh litigation [IWOV-ButierSnow.FID4511479]




May imak e another request?
Could you be sure to keep h
                          t at original recording that you made and not erase/ delete it- even though we now have a
copy and you are sending a copy?
I would appreciate it.
THANKS,
Kari

Kari L. Sutherland
Butler Snow LLP
Direct: (662) 513-8002
Fax: (662) 513-8001
Kari.Sutherland@buHersnow.com


 Butler                     t: k
                                 N (.') V C


                            Suite 205
P.O. Box 1138               1200 Jefferson Ave.
Oxford. MS 38655-1138       Oxford, MS 38655



From: Kari Sutherland
Sent: T
      uesday, June 10, 2014 i:47 PM
To: '        gm ail.com'
Subject: peivic mesh litigation [IWOV-8utlerSnow.FID4511479]

Hi
Thanks again so much for speaking with me this afternoon and working with us on hat  t recording,
i reaily appreciate your help and will definitely be back in touch with you shortly.
My office information is below.
My cell phone is                 .
And here is a link to my bio ifyou want to ee
                                            s who you're dealing
with: http://www.butiersnow.com/kari sutherland.aspx
THANKS,
Kari

Kari L. Sutherland
Butler Snow LLP
Direct: (662) 513-8002
Fax: (662) 513-8001
Kari.Suthefland@butlersnow.com


 B utl ersnow


                                                                 l
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                       ATTACHMENT 3
        Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 11 of 48 PageID #: 16806




From:                                              gmail.com
Sent:                                      Tuesday, June 10, 2
                                                             0 14 2:23 PM
To:                                        Kari Sutherland
Subject:                                   Re: pelvic mesh litigation [IWOV-ButlerSnow.FID4511479]



Kari,

 Yes, I' ll definitely keep/save th e video on the iPad. My daughter has a te
                                                                            n dency to delete thin gs on he
                                                                                                          t iPad, but i
stressed the im portance and told her that it's helping other people. (For only 5      yrs he's
                                                                                             oldansold soul, soshe gets it).
 Thanks for sending me your bio! Very impressive! I think I definitely gave this info tothe rig ht person for the jo b! I
hope it is very ben eficial to the la wsuit! It's unsettling how some people have no morals or onscious.
                                                                                                c        I'll work on
sending th e vid eo this evening. Let me know ifthe re is anything els e can
                                                                          I  d o!


Thanks!



Sent from my iPhone

On Jun 1
       0 , 2014, at 3:0 6 PM, Kari Sutherland <Kari.Sutherland@butiersnow.com> wrote:



          Maymak
               I    e another request?
          Could you be sure to keep that original recording that you made and not erase/ delete it- even th ough
          we now have a co
                         p y and you are sending a copy?
          I would appreciate it.
          THANKS,
          Kari

          Kari L. Sutherland
          Butler Snow LLP
          Direct: (662) 513-8002
          Fax: (662) 513-8001
          Kari.Sutherland@butlersnow.com

          <image001.gif>
          <image002,gif><image003.gif><image004,gi£>


                                      Suite 205
          P.O. Box 1138               1200 Jefferson Ave.
          Oxford, MS 38655-1138       Oxford, MS 38655



          From: Kari Sutherland
          Sent: Tuesday, June 10, 2014 1 :47 PM
          To: '      @qmail.com'
          Subject; pelvic mesh litigation [IWOV-ButlerSnow.FID4511 4793

          Hi
          Thanks again so much for speaking with me this afternoon and working with us on hat
                                                                                           t recording.
          I really app reciate your help and will definit ely be back in touc h with you shortly.
          My office information is belo w.
          My cell phone is                .
                                                                   1
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                       ATTACHMENT 4

 PLACEHOLDER FOR AUDIO RECORDING
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 13 of 48 PageID #: 16808




                       ATTACHMENT 5
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 14 of 48 PageID #: 16809

                                                                      1




            AUDIO RECORDING OF                  AND A SOLICITOR
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 15 of 48 PageID #: 16810

                                                                               2

   1                SOLICITOR:        (inaudible) Health Center, how

   2        are you doing today?

   3                          :   I’m good.       How are you?

   4                SOLICITOR:       Oh, I’m also fine, thanks for

   5        the concern.                     actually this call is all

   6        about      your   free      medical    compensation        and   you

   7        don’t worry, you do not have to pay any single

   8        penny, a single dollar to anyone.                     To receive

   9        this here again handsome amount of compensation.

  10        Okay.

  11                          :      So what is this for, what am I

  12        being compensated for?

  13                SOLICITOR:          Yeah,     ma’am   actually      we   are

  14        helping women who had a surgery in the past and

  15        we   are    helping      them    to   provide   a    compensation

  16        directly     from     the    manufacturer       of   the    surgery

  17        without paying a single penny for that.                Okay?

  18                          :   Okay.

  19                SOLICITOR:       So you told them (inaudible) to

  20        believe that you had a medical surgery in your

  21        past, am I correct?

  22                          :   Yes.

  23                SOLICITOR:       Okay.      So with that what kind of

  24        medical surgery you have in your past?

  25                          :   But does that make a difference?
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                                                                                          3

   1                SOLICITOR:        Sorry?

   2                            :   Does that make a difference?

   3                SOLICITOR:            No,   no,      ma’am,        actually,        you

   4        know,     I   can       help    you       out      for      your      medical

   5        compensation.            If you are really interested to

   6        receive this 30 up to 40 thousand dollars and

   7        then I will go ahead.                  So are you interested to

   8        pursue    this      medical         compensation            so    I   can    go

   9        ahead and help you out?

  10                            :     Well, what -- I guess I’m just

  11        wondering what I’m being compensated for.                                There

  12        wasn’t any complications.

  13                SOLICITOR:        Ma’am, yeah, we are the -- yeah,

  14        because we have the criteria here to receive this

  15        medical       compensation            for       the        bladder       sling

  16        surgery and for the mesh implant surgery, and I

  17        know you never have done this surgery before, but

  18        still as a good human being what I can do, I can

  19        provide       information           about       the        bladder       sling

  20        surgery       and       you     just        have      to         share    this

  21        information only two times on the call, I send to

  22        my   counselor          and    then     after         to    my     attorney,

  23        that’s    it,    ma’am,        apart      from     that      you      doesn’t

  24        have to do anything to receive your compensation.

  25        Okay?
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                                                                                        4

   1                           :      But        I’ve    never   had    a       bladder

   2        sling or mesh surgery.

   3              SOLICITOR:          I     know,                you    never         had

   4        done this surgery, but if you are interested to

   5        receive 30 up to 40 thousand dollars, you just

   6        have to tell my compensation officer that I had a

   7        bladder    sling        surgery       and    after   that       I    had    a

   8        complication.

   9                        :       I know, but --

  10              SOLICITOR:         So I will tell my --

  11                        :       That would be lying though.

  12              SOLICITOR:         I do understand, but you have to

  13        tell a lie if you want to get the 30 up to 40

  14        thousand dollars --

  15                        :       No.

  16              SOLICITOR:           No    one        will   give    you      30,    40

  17        thousand dollars like that.                    You have to tell a

  18        lie for that.

  19                        :       Right, but that’s illegal.

  20              SOLICITOR:         Can you do this?

  21                        :       No, I will not do that.

  22              SOLICITOR:         Can you?

  23                            :         That    is     ridiculous,         that      is

  24        illegal.

  25              SOLICITOR:         Okay,                  bye-bye.
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                                                                          5

   1                          :    So you are -- I mean this is

   2        fraud.

   3               SOLICITOR:      Hello?

   4                          :   Yes.

   5               SOLICITOR:          What happened, miss, you don’t

   6        want to lie for the 30 to 40 thousand dollars?

   7                          :   No, I don’t want to lie.           I mean

   8        I have morals.         This is fraud, this is illegal,

   9        so -

  10               SOLICITOR:      Ma’am, this is not a scam.

  11                          :    No, it’s a scam because you’re

  12        asking me to lie, so if you’re asking me to lie

  13        then     I   don’t    --     who   knows   what   lies   you’re

  14        telling me.       I don’t want any part of this.           This

  15        is absurd.

  16               SOLICITOR:      So I just --

  17                          :   What the hell…

  18

  19                     (WHEREUPON THE AUDIO ENDS)

  20                         *************

  21

  22

  23

  24
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                                                                           6


    I

   2                                 CERTIFICATE

   J


   4               I,   KELLY SELLERS, certify     that the foregoJ-ng
   5         is    a    correct   transcript     from the       official
   6         electronic sound recordíng of the telephone call
   7         on in the above-entitled matter, to the best of
   8         my ability.

   9

  10         Signed this 6th day of January, 201-5
  11


  t2

  13           Wrþ"Å&ee"r-/)
  14         Kelly Sellers, AD/T 544
  15


  t6

  t7

   18


  T9


  20

  21

  22

  23

  24

  25
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                       ATTACHMENT 6
        Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 21 of 48 PageID #: 16816



From:                                              gmail.com
Sent:                                     Monday, June 16, 20   1 4 5:04 PM
To:                                       Kari Sutherland
Subject:                                  Re: pelvic mesh - dra ft revised affdiavit



Kari,


 Sorry it's taken me a ttleli while to etg back wit h you! I've been very busy. I'm off of work on Wednesday, so pia
                                                                                                                  i n on
getting th e affi davit notarized then. (Hopefully this stillgives you plenty of ti
                                                                                 me).


The only de iting I would suggest in the affidavit would be to ad d a little more about me and my career. I thought it
might help th e court see that I'm a credible individual who giv es back to so ciety through my career.
 So, if you want to add a ew
                           f more deta ils, here they are...
• I'm a gistered
           Re     Nurse with a BSN deg ree.
•I've worked for the same health network for 14
                                              years (starting out with an internship in high school)
•I'm a Charge Nurse in ICU .
•   I've wor
          ked in (adult) Intensive Care for almost 9 yea
                                                      rs.


I'm sure you don't want or eed
                           n   to add all of that, but thou
                                                        I   ght you might want to use some of it.

Also, surprisingly I found the other video that I recorded in April. (I thought my daughter dele ted it). It isn't nea rly as in
depth as the other recording, but it does show consistency, & the    i r attempts to et
                                                                                      g me tofalsify information. If you
want to hear this recording, just let me know! Then you can decide ifyou want to use it. I'm assu ming you probably
will. 1 hope this is even more helpful!


Thanks again!




Sent from my iPhone


On iun 12, 2014, at 0:09
                    1    AM, KariSutherland <Kari.Sutherland@butlersnow.com> wrote:



         Thanks so m
                   uch for working with us on that recording.
         Thomas was able to get th at downloaded and savedl
         I've attached a revised draft affidavit for you
                                                       r review that deletes th e paragraph with the phone
         number.
         THANKS,
         Kari



         Kari L. Sutherland
         Butler Snow LLP
         Direct: (662) 513-8002
         Fax:(662)513-8001
         Kari-Sutherland@builersnow.com

         <image001.gif>
         <iniage002.gi£><image003.gi£><image004.gif>
                                                                      l
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      Supplemental Affidavit of
       Kari Sutherland, Esq.
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 23 of 48 PageID #: 16818




             SUPPLEMENTAL AFFIDAVIT OF KARI SUTHERLAND, ESQ.




 STATE OF MISSISSIPPI
 COUNTY OF LAFAYETTTE

        KARI SUTHERLAND, first being duly sworn, deposes and states that she is over the age
 of 18 years and is a resident of the State of Mississippi and testifies as follows of her own
 personal knowledge:

    1. After I executed my affidavit on January 8, 2015,1 received a communication from Ms.
            later that afternoon. She indicated that she would execute an affidavit. At the time




 STATE OF MISSISSIPPI
 COUNTY OF LAFAYETTE

       Swornt^rand subscribed before me, a Notary Public in and for the aforesaid State and
 County, this y  day of ^JMlUXhdA           , 2015.



                                                           NOTARY PUBLIC
 MY COMMIT



             V\Oec. jo * Pfres /   ,*




                                          Page 1 f o1
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                    Affidavit B
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 25 of 48 PageID #: 16820




                               AFFIDAVIT OF




 STATE OF FLORIDA
 COUNTY OF LEON

                              , first being duiy sworn, deposes and states that she is over the age of
 18 years and is a resident of the State of Florida and testifies as follows of her own personal
 knowledge:

    1. I am 53 years old. I own and operate my own frame shop. I am a resident of
       Tallahassee, Florida.

    2.   Beginning [date -approximately July 1?] and continuing through today, I have received
         numerous calls to my cell phone from callers claiming to be with "American Medical
         Services." The callers are trying to get me to sign up for a legal settlement of $30,000-
         $40,000 for bladder sling surgery.

    3. Every caller speaks with an Indian accent. All but two of the callers have been men. In
       each call, I hear telemarketing noises in the background. It sounds like multiple other
       people in the background are also talking on the phone.

    4. The callers always provided American-sounding names (such as Jason, Jonathan,
       Franklin, etc.) when introducing themselves.

     5. Each call starts out with the caller saying they are from American Medical Services. The
        caller asks if I ave
                          h ever had a bladder sling or taken antidepressants. I did have my
        gallbladder removed when I was 18 years old, which they apparently knew about from
        the beginning since they mentioned it in the first calls. I have since explained to
        numerous callers that no, I had my gallbladder removed when I was 18 but I have never
        used any of the products they mentioned. The callers emphasize the bladder sling.

    6. One of the callers asked me if I had a mother or sister or aunt who had a bladder sling.

    7. When I told one caller that I had not used any of the products, he told me not to worry
       and that he was going to let her talk to somebody else. He said that other person would
       ask me five questions to qualify for the $30-40,000 in settlement money. He said this
       other person would give me the answers to these questions.




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    8. Numerous callers have suggested that I lie to qualify for the money. They frequently say
       "wouldn't you like to have $30-40,000." When I tell them I have never had mesh, they
       say "that's ok, wouldn't you like $30,000?" I tell them that that would be lying and I am
       not entitled to that money. I have had two women call me and both hung up when I said I
       was not entitled to the money, while many of the male callers have heard me say that I
       am not entitled and stayed on to encourage me to lie.

    9. Twice I have been transferred from the initial caller to a second caller who tried to ask
       me the same questions. I cut them off and told them if I took that money I would be
       stealing, that I am not entitled to it and that to ask me to lie would be wrong. I said this to
       other callers as well. When I said this, the callers would frequently hang up on me. One
       time I told the caller I would call the police and he hung up on me.

    10. The conversation never got far enough that the callers would identify specific attorneys
        involved with the settlement.

    11.1 was able to call several of the numbers back after receiving the unsolicited calls.
       However, I recently attempted to call them back again and the numbers all seem to have
       been disconnected.

    12.1 have received calls from the following numbers on the following dates and times:


 Phone Number                                       Date and Time of Call
   <i (, - fro e-                                    -7 - 1 (o - I <4
        i. -                oo                       n - n - \H
   2 It ~ - t z z '                                   1-         1M
   2*0 1 - 7 7. . ^ ~ H l O O                             -1    -1 ^
     1 \? - 6       - -ZVZU                            '1 - / » - IV
    \    Q. 9 fiduH&icp               Ukl£0i)V>b
                                                       n - ) c\ ~ m
    UfJ K.M0WU ( glooVA                     } — ^i *-1 *4
    Uu kvoioP                             n -zz-m
    U U l ap oWP
    UfO
    | - G 1 lc - 5T <b -                  -7 ^ t-t ~/ y
     1~     i to - .rn '?Jbiu .
                   e
     1 ---] 11,-57%,- -l<bVb ( Pistol htcWA. s*© uS\ w7 /t3 /f4/
     1- 1o1            -M \ 0 0            -7-Z.S-* )<f




                                            Page 2 of 3
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 STATE OF FLORIDA
 COUNTY OF LEON

       Sworn to and subscribed before me, a Notary Public in and for the aforesaid State and
 County, this [% day of /fys                  2014.




 MY COMMISSION EXPIRES:

  si&y.       CHIQUITA MCKNIGHT
  0''A %   MY COMMISSION * FF 070574
  UiSL^J   EXPIRES: January 17,2018
               ThaiMotor/PvbfcUiigew.t£efs


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                    Affidavit C
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 29 of 48 PageID #: 16824
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 30 of 48 PageID #: 16825
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 31 of 48 PageID #: 16826




                    Affidavit D
Case 2:12-md-02327 Document 1418-1 Filed 01/14/15 Page 32 of 48 PageID #: 16827




                             AFFIDAVIT OF




 STATE OF FLORIDA
 COUNTY OF MIAMI-DADE

                                  , first being duly sworn, deposes and states that she is over the
 age of 18 years and is a er sident of ht e State of Florida and testifies as follows of her own
 personal knowledge:

    1. I am 52 years old. I am a registered nurse with a master's degree in nursing. I am a
       resident of Cutler Bay, Florida.

    2. Beginning around January of 2014,1 began receiving unsolicited phone calls to my cell
       phone. The callers know my name and tell me that I could receive money from a lawsuit
       over vaginal mesh surgery. I have never had vaginal mesh surgery. I have repeatedly
       told the callers that I ahve not had the surgery, but they continue to call.

     3. When the calls have come in, they frequently do not show a number on caller ID.
        Sometimes, they have shown a number that looks foreign.

     4. When I eceived
                r        the first few calls, I thought it was an accident. I told the callers to take
        me off whatever list they had me on. When the calls kept coming, I thought it must be a
        scam and started hanging up on the callers.

    5. The callers identify themselves as being from different organizations, using names that
       suggest they are calling from government agencies. Sometimes they say they are from
       the Medical Compensation Department, sometimes the Federal Medical Department.

    6. On approximately June 19,2014,1 received one of these calls and asked the caller who
       he worked for. He told me he worked for Johnson & Johnson.

    7. All of the callers have a thick foreign accent that sounds Indian. The background noises
       during the calls make me think they are calling from a call center.

    8. The first few calls I received were from a male caller. Then a female caller called me a
       several times. Then I began receiving calls from a different male caller.

    9. I have asked several times to speak to a supervisor; each time I asked this, my call was
       disconnected. The one time I w  as able to speak to a supervisor, the supervisor provided

                                              Page 1 of 2
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        me with the same English name the initial caller had given me, and when I confronted
        him about what an unlikely coincidence it was that he and his employee had the exact
        same name, he hung up on me.

    10. When the calls first started, I received approximately one phone call a week. Now I
        receive approximately one to three calls a month. The calls have come during the day
        and late at evening, on weekdays or weekends.

    11. On July 16,2014, at 12:13 p.m., I received a similar unsolicited call from a female caller.
        My caller ID identified this call as coming from (863) 517-3025.

    12. The female caller spoke with an Indian accent. It sounded like she was calling from a
        noisy call center. She said she was calling from the Family Health Care Department and
        that she was calling about medical compensation.

    13. The female caller said that her name was Diana Johnson. I asked her what number I
        could call her back at, and she provided (863) 517-3025.

    14. The female caller asked me if I or a family member had pelvic mesh, then went through a
        list of possible things I or a family member may have had problems with, including
        bladder surgery, mesh, Tylenol, steroids, antidepressants, and Risperdal. When I
        responded no to all of the above, she said "ok, good bye."




 Executed this /      day of                          2014.




 STATE OF FLORIDA
 COUNTY OF MIAMI-DADE

       Sworn to and subscribed before me, a Notary Public in and for the aforesaid State and
 County, this )B day of "DC*-/y              , 2014.


                                       KARffT ANN WIIT2
                                 t.   Commission n Y f 19401
                                        Commission Cxpuns
                                  •      July 08 . 201 7          ARY PUBLIC

 MY COMMISSION EXPIRES:



                                                  Page 2 of 2
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                    Affidavit E
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                     Affidavit F
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                               AFFIDAVIT OF




STATE OF CALIFORNIA
COUNTY OF SAN BERNARDINO

                        , first being duly sworn, deposes and states that she is over the age of 18
years and is resident
              a       of ht e State of California and testifies as follows of her own personal
knowledge:

   1. I am 59 years old. I am retired from a civilian law enforcement position and have been a
      resident of Rancho Cucamonga, California for approximately 25 years.

   2. Beginning around February of 2014,1 began receiving unsolicited phone calls on both
      my landline and cellular telephones soliciting my participation in a lcass action lawsuit
      related to TVT surgery I ha d in 2003. The caller asked for me by name and knew I d    ha
      undergone the surgery.

   3. Each call was from a man with a th  ick accent that sounded Middle Eastern. I am not
      certain but I think it was the same man calling each time. He claimed he was calling
      from "Medical Healthcare." During other calls, he claimed he was calling from "U.S.
      Health Works." Many times, the person calling identified himself as 'Kevin with U.S.
      Healthworks."

   4. At first I rece
                    ived a call every few days. The frequency of the calls increased and
      sometimes I received two or three calls in a si
                                                    ngle day.

   5. During the first call, the caller knew my name and knew about my surgeiy. I was very
      concerned that someone I did not know had access to my private medical information. I
      asked where he got my information. He refused to tell me. From the start of the calls
      until June 23, 2014, none of the ca  llers would tell me where they got my medical
      information.

   6. The caller repeatedly told me I would qualify for a lawsuit if Ineeded an additional
      follow-up surgery, had constant pain and discomfort, and my bladder sling did not work.
      The caller insisted that I join the class action lawsuit. He said that if I qualified, he would
      transfer me to a paralegal to talk b a out the case. Through several calls, I tol d the caller
      that none of those things were true. In response, he would tell me I didnot qualify and
      end the conversation.


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   7. Approximately one month after I received the first call, I began documenting the time of
      the calls and what number appeared on the caller ID.

      Date                           Time                           Incoming call number on
                                                                   caller ID
      3/7/2014                      6:10 p.m.                      (951) 233-6106
      3/8/2014                       10:42 a.m.                    (951)223-6106
      3/8/2014                      1:31p.m.                       (702) 425-5559
      3/9/2014                      11:53 a.m.                     (951) 223-6106
      3/9/2014                      1:31 p.m.                      (951)223-6106
      3/11/2014                     12:42 p.m.                     (305) 507-4567
      3/12/2014                     11:56 a.m.                     (626) 985-2357
      3/12/2014                     12:36 p.m.                     (727) 493-5888
      3/13/2014                     1:58 p.m.                      (786) 522-2805
      3/13/2014                     3:58 p.m.                      (951) 223-8842
      3/14/2014                     10:24 a.m.                     (202) 666-6110
      3/21/2014                     4:20 p.m.                      (305) 507-4567
      3/25/2014                     5:55 p.m.                      (909) 184-1544
      3/26/2014                     6:48 a.m.                      (562) 453-1414
      3/26/2014                     10:35 a.m.                     (562) 453-1414
      3/26/2014                     3:50 p.m.                      (561) 345-1818
      3/27/2014                     2:38 p.m.                      (201) 214-5452
      3/28/2014                     5:09 p.m.                      (909) 117-3122
      4/1/2014                      3:23 p.m.                     "Not available"
      4/2/2014                      8:23 a.m.                     "International"
      4/2/2014                      3:00 p.m.                     "International"
      4/2/2014                      3:15 p.m.                     (951) 894-7549
      4/2/2014                      7:13 p.m.                     (909) 206-5133
      4/3/2014                      10:45 a.m.                    (951)18-5357
      4/3/2014                      12:39 p.m.                    (786) 522-9606
      4/7/2014                      10:29 a.m.                    (504) 309-6538
      4/18/2014                     7:29 a.m.                     (561)345-1818
      4/29/2014                     8:12 a.m.                     (561) 345-1818
      5/1/2014                      3:54 p.m.                     (909) 154-5625
      5/2/2014                      9:07 a.m.                     (909) 206-5139
      5/2/2014                      9:07 a.m.                     (909) 206-5139 (immediate
                                                                  back-to-back calls)
      5/3/2014                      8:00 a.m.                     (617)581-1966
      5/5/2014                      6:45 a.m.                     "Medical Health, # not
                                                                  available"
      5/7/2014                      2:18 p.m.                     (801)960-2810
      5/10/2014                     11:12 a.m.                    (801)960-2810
      5/23/2014                     11:08 a.m.                    (786)410-0007
      6/3/2014                      11:28 a.m.                    (850) 708-8666
      6/4/2014                      1:51 p.m.                     632515455254555

                                        Page 2 of 4
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 Executed this d\2> day of       JlUli            , 2014.




 STATE OF CALIFORNIA
 COUNTY OF SAN BERNARDINO

       Sworn to and subscribed before me, a Notary Public in and for the aforesaid State and
 County, this £3 day of OlU V|               , 2014.




 MY COMMISSION EXPIRES:


                       JENNIFER L. H OUGHTON       F
                       Commission # 2042897 |
                       Notary P ublic • California z
          i vmbv        San B ernardino County |




                                               Page 4 of 4
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  CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT


  State of California

  County of        S(\Y\                                    0

  On                                         before me, L                                    . .
                      Date                                                        .   ,        He^e Insert f


  personally appeared
                                                                                           Nams(S) of S igner(s)'




                                                                             who proved to me on the basis of s atisfactory evidence to
                                                                             be the personj^ whose namejgf jljkre subscribed to the
                                                                             within instrument and acknowledged to me that
                                                                             he/0g$hey executed the samejn his(nep'their authorized
                             JENNIFERL . HOUGHTON                            capacity(jes), and that by hi^/ftejv'their signature^ on the
                             Commission # 2042897 -                          instrument the person^ or the entity upon behalf of
                             Notary P ublic • California |
                     yj       San Bernardino County      £                   which the person^sf acted, executed the instrument.

                                                                             1cer tify under PENALTY OF PERJURY under the laws
                                                                             of the State of California that the foregoing paragraph is
                                                                             true and correct.

                                                                             WITNES!                hand and official seal.

                                                                             Signatur
                      Place Notary Seal Above

                                                                    OPTIONAL
       Though the information below is not required by law, it may prove valuable to persons relying on the document
                and could prevent fraudulent removal and reattachment of this form to another document.

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 • Corporate Officer — Title(s):                                                   • Corporate Officer — Title(s):
 • Partner — •Limited • General                                                   • Partner — •Limited • General
 • Attorney in Fact                                                               • Attorney in Fact
 • Trustee                                              Top of t humb here
                                                                                  • Trustee
                                                                                                                                              Top of t humb hers

 • Guardian or Conservator                                                        • Guardian or Conservator
 • Other:.                                                                        • Other:


 Signer Is Representing:.                                                          Signer Is Representing:




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                                                                                                                                                          00-876-6827
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                    Affidavit G
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                                     AFFIDAVIT OF




      STATE OF SOUTH CAROLINA
      COUNTY OF DARLINGTON

                                , first being duly sworn, deposes and states that she is over the age of 18
      years and is a resident of the State of South Carolina and testifies as of llows of her own personal
      knowledge:

         1. I have lived in Darlington for approximately 15 years, and lived in the Florence and
            Darlington area for approximately 22 years. 1 am  employed as a private caregiver for the
            elderly and have previously worked in doctor's office.

         2. Beginning approximately in approximately July of 2014 and continuing until
            approximately September 1, 2014, I received calls on a daily basis from a man who
            identified himself as "Mr. Davis" from the FDA. "Mr. Davis" typically calls between 11
            a.m. and 1 p.m.

         3. "Mr. Davis" told me that the FDA had a settlement for me for $25,000 from Johnson &
            Johnson. "Mr. Davis" said he has been calling women who have had the mesh or the
            sling, and said Johnson & Johnson is paying $25,000 to people who have had these
            surgeries. He told me he was a mediator between Johnson & Johnson and me. He said
            the lawyer he uses is "Albert Lazo."

         4. "Mr. Davis" told me that to get the settlement I had to buy a Green Dot Moneypak from
            the pharmacy, put $150 on it, and provide him with the number on the back of the card.
            He said that once 1 provided him with that information, 1 would receive the settlement
            money through Western Union within an hour or so.

         5. "Mr. Davis" knew detailed information about surgeries I have had, including detailed
            information about a surgery I had last year. I did not provide him with any of that
            information and do not know where or how he obtained this information.

         6. Almost all of the calls from "Mr. Davis" have come from the phone number (646) 340­
            8616. One or two calls came from a number that also began (646) 340; I do not have the
            rest of he
                    t number available.

         7. "Mr. Davis" speaks with an Indian accent. On one call, I heard someone else talking in
            the background; it sounded like that other person was also talking on the phone.

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         8. I have called the (646) 340-8616 number and "Mr. Davis" answered the phone and
            identified himself as being with the FDA.

         9. One time I called the (646) 340-8616 number and another person, who had a lighter
            Indian accent than "Mr. Davis," answered the phone and said the accounting office was
            closed but would open again in 15 minutes.

         10. In approximately August 2014,1 calledAlbert Lazo's office and was told that they do not
             have me in their files. I also did a reverse lookup on the phone number (646) 340-8166
             and contacted the phone company to let them know that scammers were using the phone
             number to try to scam people. I continued to receive daily phone calls from the number
             after alerting the phone company.

         11. On October 7, 2014, I received a call from the same number from a man identifying
             himself as "Eric Miller." This man also spoke with a thick Indian accent. During the
             call, I could hear what sounded like another man speaking on a telephone in the
             background. "Eric Millers" claimed that he was from New York and was calling from
             the FDA on behalf of Johnson & Johnson. He said he was working with Johnson &
             Johnson's attorneys. He told me he was working with Albert Lazo law firm. I told him I
             thought he was calling from a scam, 1 told him Ithought it was. He asked me to put $150
             on a Green Dot Moneypak and said he was not trying to steal that money from me, they
             just needed that on the card as a transfer fee. I told him I had talked with Johnson &
             Johnson's attorney and knew that he was just a scam.

         12.1 asked "Eric Miller" to send me an e-mail to confirm his identity. Shortly thereafter, on
            October 7, 2014, I received an e-mail from the e-mail address fda.gov4@gmail.com. 1
            forwarded a true and accurate copy of the e-mail to an attorney working for Johnson &
            Johnson and a true and accurate copy of that e-mail as I forwarded it is attached as
            Exhibit A to this Affidavit. Attached to the e-mail was a Microsoft Word document
            signed by a 'Teter Williams" and bearing an "FDA" logo. A true and accurate copy of
            the substance of that Microsoft Word document is attached as Exhibit B to this Affidavit.
            That document was addressed to a                   and said that the "company is ready to
            pay you 25000$" and lists a "150$" transfer fee that must be paid to receive
            compensation.

         13. On October 7, 2014,1 called the law offices of Albert Lazo and said I received another
             call regarding the mesh lawsuits. The receptionist at the law office said she did not know
             what I was talking about and said she documented that I ahd received the solicitation call.




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      Exhibit A
From:
Sent:                              Tuesday, October 07, 2014 2:04 PM
To:                                Jonathan Skrmetti
Subject:                           Fw: Compensation Approval Letter For B.S.S OR T.V.M
Attachments:                       image.png; image.png; approvailetterofB.S.SOrT.V.M.docx




Sent from my LG Mo bile

      Original Message
Subject: Compensation Approval Letter For B.S.S OR T.V.M
From: fda gov <fda.gov4@gmail.com >
To:
CC:

*Compensation Approval Letter For B.S.S OR T.V.M*




       *                 *

       Approval Number *           *:* *4962SRT*

       Compensation** Amount         : 25000$*




           This letter is to give you confidential proof of compensation amount of about 25000$, which you are legally
eligible for.



           According to your information, you Bladder sling Or Trans vaginal Mesh & suffer from deadly side effect, got
diagnosed in
          hospital.



           Our company is going to have electronic transaction of compensation amount.



             In Order to get your Compensation Amount Call
On 646-340-8616*




#
            [image: Inline image 1]
                             [image: Inline image 2]*

                                                             1
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    Peter Williams



     (Manager)




                                       i
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      Executed this f j /   day of flflJ-nh&iL   , 2014.




      STATE OF SOUTH CAROLINA
      COUNTY OF DARLINGTON

            Sworn to and subscribed before me, a Notary Public in and for the aforesaid State and
      County, this  I day of /jf'j'/Q/WJ} J , 2014.



                                                                   /t# //M •
                                                                  )TARYRTJMIC
                                                                NOTARY  PUSmC
                                                                                                    >
      MY COMMISSION EXPIRES:




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            Exhibit B
        Subject- Approval fetter of Bladder Sling Or Trans Vaginal Mesh Compensation

      From: Manager

      Peter Williams

      To-



                                      4962SBT
      Compensation Amount :25008$

      This letter is to give you confidential proof of compensation amount of about 25000$, which
      you are legally eligible for.

      According to your information, you Bladder sling Or Trans vaginal Mesh & suffer from deadly
      side effect, got diagnosed in hospital.

      Total expense you paid to a doctor is around 3500$ but for side effect that you were suffering
      from due to defective mesh or sling which was deadly, company is ready to pay you 25000$.

      Our company is going to have electronic transaction of compensation amount.

      As you know our company made many expense to fight a case against company in your name
      likewise expense of medical records paper work, fee of a lawyer and also transfer chargers for
      compensation amount.

      in Order toget your Compensation Amount Call On 646-340-8616

      Total Expenses:

            •   Medical records-200$
            •   Lawyer fee-250$
            •   Transfer charges-150$




                                                                                    Peter Williams




                                                                                       (Manager)
